       Case2:13-cr-00018-JCM-GWF
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1    RENE L. VALLADARES
     Federal Public Defender
2    State Bar No. 11479
     WENDI L. OVERMYER
3    Assistant Federal Public Defender
     State Bar No. 9532
4    411 E. Bonneville, Ste. 250
     Las Vegas, Nevada 89101
5    (702) 388-6577
     wendi_overmyer@fd.org
6
     Counsel for Leon Benzer
7
                                  United States District Court
8
                                        District of Nevada
9
10   United States of America,                       Case Nos. 2:13-cr-00018-JCM-GWF-1
                                                               2:13-cr-00174-JCM-GWF
11                Plaintiff,
                                                     Unopposed Motion for Extension of
12         v.                                        Sentencing Briefing Deadlines
                                                     (First Request)
13   Leon Benzer,

14                Defendant.

15
16   Certification: This motion is timely filed under Local Rule 6-1.

17         Defendant Leon Benzer, through counsel, moves this Court to continue the

18   remaining sentencing briefing deadlines for 7 days. Currently, Mr. Benzer’s response to

19   the government’s sentencing brief is due July 9, 2018, and the government’s reply to Mr.

20   Benzer’s response is due July 27, 2018. ECF 838. The sentencing hearing is currently

21   scheduled for August 10, 2018. ECF 838. The requested 7 day extension will not impact

22   the scheduled sentencing date. This is the first request to extend the sentencing briefing

23   deadlines.

24         On June 28, 2018, undersigned counsel contacted government counsel, who agrees

25   to this motion. Also on June 28, 2018, undersigned counsel spoke with Mr. Benzer, who

26   agrees to the extension. In light of the July 4th holiday, the extension is necessary to

27   gather additional information and consult with Mr. Benzer regarding his response, and
28   to allow the government adequate time to reply to Mr. Benzer’s response.
       Case2:13-cr-00018-JCM-GWF
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1          Therefore, Mr. Benzer moves this Court to extend the remaining sentencing

2    briefing deadlines by 7 days, with his response to the government’s sentencing brief to

3    be due July 16, 2018, and the government’s reply to be due August 3, 2018. A proposed

4    order is attached, pursuant to Local Rule 6-2.

5          DATED July 2, 2018.

6                                           Respectfully submitted,

7
                                            RENE L. VALLADARES
8                                           Federal Public Defender

9
                                         By /s/ Wendi L. Overmyer
10                                          WENDI L. OVERMYER
                                            Assistant Federal Public Defender
11
                                            Counsel for Leon Benzer
12
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       Case2:13-cr-00018-JCM-GWF
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1                                      Service Certificate

2          The undersigned hereby certifies she is an employee of the Federal Public

3    Defender for the District of Nevada and is a person of such age and discretion as to be

4    competent to serve papers.

5          That on, July 2, 2018, she served a copy of the above and foregoing Unopposed

6    Motion for Extension of Sentencing Briefing Deadlines by electronic service (ECF)

7    to all parties of record including the persons named below:

8
                  SANDRA MOSER
9                 Acting Chief, U.S. Department of Justice
10                Fraud Section, Criminal Division
                  ALISON L. ANDERSON
11                ANKUSH KHARDORI
                  Trial Attorneys
12                Criminal Division, Fraud Section
13                U.S. Department of Justice
                  1400 New York Avenue, NW
14                Washington, DC 20530

15                                          /s/ Cecilia Valencia
16                                          Employee of the Federal Public Defender

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       Case2:13-cr-00018-JCM-GWF
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1
2                                United States District Court

3                                     District of Nevada

4
     United States of America,                        Case Nos. 2:13-cr-00018-JCM-GWF-1
5                                                               2:13-cr-00174-JCM-GWF
                 Plaintiff,
6                                                     Order
           v.
7
     Leon Benzer,
8
                 Defendant.
9
10
11         It is ordered that the remaining sentencing briefing deadlines be vacated and
12   continued by 7 days:
13         1.    The Defendant will file his response by July 16, 2018.
14         2.    The Government will file its reply, if any, by August 3, 2018.
15         IT IS SO ORDERED.
16         Dated this
                 July ______ day of July, 2018.
                      11, 2018.
17
18                                                _________________________________
                                                  UNITED STATES DISTRICT JUDGE
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